                                                                                                                                      Case 6:21-cv-00474-AA                         Document 49-5                  Filed 08/06/21     Page 1 of 4
                                                                                                                                                                                                                                         Psychological Trauma:
                                                                                                                                                                                                                          Theory, Research, Practice, and Policy
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                                                                                                                            LGBTQ Populations: Psychologically Vulnerable Communities in the
                                                                                                                                                 COVID-19 Pandemic

                                                                                                                              John P. Salerno and Natasha D. Williams                                                            Karina A. Gattamorta
                                                                                                                                       University of Maryland, College Park                                                         University of Miami


                                                                                                                                                   In the wake of the 2019 novel coronavirus (COVID-19) pandemic and the psychological consequences
                                                                                                                                                   that will follow, it is critical to acknowledge and understand the unique vulnerabilities of lesbian, gay,
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                                                                                                                                                   bisexual, transgender, and queer or questioning (LGBTQ) populations in order to provide equitable
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                                                                                                                                                   mental health intervention that reaches these highly at-risk groups. It is well established that LGBTQ
                                                                                                                                                   persons face social disadvantages and mental health disparities, which may be exacerbated as a result of
                                                                                                                                                   COVID-19 pandemic trauma and social isolation measures. This commentary highlights structural,
                                                                                                                                                   social, and individual-level challenges among LGBTQ populations in the context of COVID-19 and
                                                                                                                                                   proposes prevention recommendations to mitigate the psychological ramifications of COVID-19
                                                                                                                                                   pandemic-related trauma among LGBTQ persons.

                                                                                                                                                   Keywords: COVID-19, LGBTQ, mental health, social distancing, healthcare policy




                                                                                                                       As of April 29, 2020, there were 1,005,147 cases and 57,505                          chological risks, lesbian, gay, bisexual, transgender, and queer or
                                                                                                                     deaths due to the 2019 novel coronavirus (COVID-19) in the                             questioning (LGBTQ) populations have received minimal atten-
                                                                                                                     United States (Centers for Disease Control and Prevention [CDC],                       tion during the COVID-19 pandemic. This commentary discusses
                                                                                                                     2020). As the incidence of COVID-19 cases and deaths begins to                         the status of U.S. healthcare systems and COVID-19 crisis re-
                                                                                                                     decline, it is of utmost importance to act fast in responding to the                   sponse, outlines LGBTQ-specific risks for COVID-19 psycholog-
                                                                                                                     psychological impact of COVID-19 pandemic trauma. Despite                              ical burden, and proposes recommendations for mitigating the
                                                                                                                     well-documented vulnerability to several social, health, and psy-                      negative mental health impact of COVID-19 among LGBTQ per-
                                                                                                                                                                                                            sons.

                                                                                                                                                                                                                   U.S. Healthcare Systems During COVID-19
                                                                                                                     Editor’s Note. This commentary received rapid review due to the time-
                                                                                                                                                                                                               Thus far, millions of Americans have been laid off as a result of
                                                                                                                     sensitive nature of the content. It was reviewed by the Journal Editor.—KKT
                                                                                                                                                                                                            COVID-19. Recent data indicate that over 30 million Americans
                                                                                                                                                                                                            filed initial unemployment claims between March and April 2020
                                                                                                                        This article was published Online First June 18, 2020.                              (U.S. Department of Labor, 2020), skyrocketing national unem-
                                                                                                                        X John P. Salerno, Department of Behavioral and Community Health,                   ployment rates to peak levels greater than those seen in the Great
                                                                                                                     School of Public Health, University of Maryland, College Park; X Natasha D.            Recession of 2009 (Amadeo & Anderson, 2020). Unfortunately,
                                                                                                                     Williams, Department of Family Science, School of Public Health, University            LGBTQ persons may be overrepresented in these figures. For
                                                                                                                     of Maryland, College Park; X Karina A. Gattamorta, School of Nursing and               instance, 40% of all LGBTQ persons in the United States work in
                                                                                                                     Health Studies, University of Miami.
                                                                                                                                                                                                            service-industry jobs (compared with 22% of non-LGBTQ per-
                                                                                                                        This work was supported by the National Institute of Mental Health
                                                                                                                     (Award 1R36MH123043) and the National Institute on Minority Health
                                                                                                                                                                                                            sons), which suggests that LGBTQ persons are particularly vul-
                                                                                                                     and Health Disparities (Award U54MD002266) of the National Institutes                  nerable (especially LGBTQ persons of color) to financial, employ-
                                                                                                                     of Health (NIH) and by the University of Maryland Prevention Research                  ment, and health-insurance-status ramifications as a result of
                                                                                                                     Center Cooperative Agreement U48DP006382 from the Centers for Dis-                     COVID-19 (Whittington, Hadfield, & Calderon, 2020). To miti-
                                                                                                                     ease Control and Prevention (CDC). The content is solely the responsibility            gate financial burden, the Coronavirus Aid, Relief, and Economic
                                                                                                                     of the authors and does not necessarily represent the official views of the            Security Act has provided one-time financial support to millions of
                                                                                                                     NIH or the CDC. We are grateful to student members of LGBTQ⫹                           eligible individuals, couples, and families in the United States
                                                                                                                     Students and Allies in Public Health at the University of Maryland for their           during the pandemic (Snell, 2020).
                                                                                                                     commitment to LGBTQ communities and their mental health in the midst                      For those with employer-sponsored health insurance, the loss of
                                                                                                                     of the COVID-19 pandemic crisis; our work together inspired the idea for
                                                                                                                                                                                                            their jobs likely signifies the loss of health insurance coverage.
                                                                                                                     this commentary. Additionally, Williams gratefully acknowledges support
                                                                                                                     from the Southern Regional Educational Board.
                                                                                                                                                                                                            These individuals may purchase private insurance under the Af-
                                                                                                                        Correspondence concerning this article should be addressed to John P.               fordable Care Act (ACA) if granted a special enrollment period
                                                                                                                     Salerno, Department of Behavioral and Community Health, School of                      (Centers for Medicare and Medicaid Services [CMS], n.d.-b), sign
                                                                                                                     Public Health, University of Maryland, 4200 Valley Drive, 1242L, College               up for Medicaid if they meet the “low-income” eligibility require-
                                                                                                                     Park, MD 20742. E-mail: jsalerno@umd.edu                                               ment (Garfield, Orgera, & Damico, 2020), or sign up for Medicare

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                                                                                                                     if they meet the “elderly age or disability” eligibility requirements    states, three counties, 10 cities, Puerto Rico, and the District of
                                                                                                                     (Social Security Administration, 2019). However, in states that          Columbia issued “curfew,” “stay-at-home,” or “shelter-in-place”
                                                                                                                     have not expanded Medicaid (14 as of April 27, 2020; Kaiser              executive orders (i.e., social and physical distancing mandates) to
                                                                                                                     Family Foundation, 2020), low-income workers who lose their              reduce the spread of COVID-19 (Mervosh, Lu, & Swales, 2020).
                                                                                                                     jobs may fall into a coverage gap (Garfield et al., 2020), in which      As of April 29, 2020, 25 states were partially reopened or had
                                                                                                                     they make too much money to qualify for Medicaid but too little          begun to lift their mandates, and 25 states and the District of
                                                                                                                     to afford ACA health insurance, significantly reducing their access      Columbia remained shut down or restricted (Mervosh & Lee,
                                                                                                                     to health care.                                                          2020).
                                                                                                                        For currently insured persons, the Families First Coronavirus            Although these orders are designed to keep individuals and
                                                                                                                     Response Act eliminated cost-sharing for COVID-19 testing under          communities safe, they present unique challenges for many LG-
                                                                                                                     employer-sponsored and public health insurance plans (Cubanski           BTQ youth. The closing of K–12 and higher education institutions
                                                                                                                     & Freed, 2020; Moss et al., 2020; Rudowitz, 2020), and most              may confine LGBTQ young persons to traumatic and possibly
                                                                                                                     private health insurers have waived cost-sharing for COVID-19            abusive environments (Green et al., 2020; Whittington et al.,
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                                                                                                                     testing (America’s Health Insurance Plans [AHIP], 2020), bene-           2020). Many LGBTQ youth cannot be their authentic selves at
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                                                                                                                     fitting many currently insured persons in the United States.             home because they have not disclosed their sexual and gender
                                                                                                                        Persons who were uninsured before the pandemic are likely             identities or because they were not met with support or acceptance
                                                                                                                     unable to enroll in a health insurance plan under the ACA because        from their parents and families (Green et al., 2020; Human Rights
                                                                                                                     they are currently outside of the open-enrollment period or because      Campaign, 2018). Additionally, many college students who were
                                                                                                                     they are ineligible (e.g., undocumented immigrants). Luckily, nine       living on or near university campuses have been forced to return to
                                                                                                                     states and the District of Columbia are currently offering special       homes that may not be welcoming and safe (Green et al., 2020;
                                                                                                                     open-enrollment periods during COVID-19 (Nania, 2020). Eligi-            Whittington et al., 2020). Indeed, research suggests that one third
                                                                                                                     ble persons in other states will have to wait until November 1,          of LGBTQ youth experience parental rejection, and another third
                                                                                                                     2020, to be able to enroll in ACA health insurance (CMS, n.d.-a).        do not come out until they are adults (Rosario & Schrimshaw,
                                                                                                                     Thus, many will remain unable to access health insurance during          2013), and suicide (8 times more likely) and depression (6 times
                                                                                                                     and after the pandemic and will be left with little to no alternatives   more likely) are significantly more likely among LGBTQ youth
                                                                                                                     for receiving health care and mental health care.                        who are rejected by their parents (Ryan, Huebner, Diaz, & San-
                                                                                                                                                                                              chez, 2009), emphasizing the severity of this potentially co-
                                                                                                                      Structural Vulnerability Among LGBTQ Populations                        occurring psychological trauma.
                                                                                                                                                                                                 Schools and universities are a common gateway to mental health
                                                                                                                                       During COVID-19
                                                                                                                                                                                              services for LGBTQ young persons (Dunbar, Sontag-Padilla,
                                                                                                                        Research consistently elucidates mental health disparities            Ramchand, Seelam, & Stein, 2017; Pitcher, Camacho, Renn, &
                                                                                                                     among LGBTQ persons relative to their heterosexual, cisgender            Woodford, 2018; Zhang, Finan, Bersamin, & Fisher, 2020).
                                                                                                                     counterparts (Plöderl & Tremblay, 2015; Price-Feeney, Green, &           Among LGBTQ youth, even larger proportions of school-based
                                                                                                                     Dorison, 2020; Russell & Fish, 2016). These disparities are related      mental health services are likely used by intersectionally margin-
                                                                                                                     to social inequalities that disproportionately affect LGBTQ per-         alized LGBTQ youth, such as racial and ethnic minorities, the
                                                                                                                     sons. For instance, greater proportions of LGBTQ persons lack            homeless, undocumented immigrants, and those from backgrounds
                                                                                                                     access to health insurance (17% vs. 12%) and face poverty (22%           of low socioeconomic status (Ali et al., 2019; Golberstein, Wen, &
                                                                                                                     vs. 16%) compared with their non-LGBTQ counterparts (Whit-               Miller, 2020). For LGBTQ youth relying on schools for mental
                                                                                                                     tington et al., 2020). Poverty figures extend to same-sex parents        health supports around identity development, coming out, and
                                                                                                                     and single LGBTQ parents and their families, who are at least            family rejection, the closing of schools is particularly grave (Green
                                                                                                                     twice as likely to be living near the poverty line compared with         et al., 2020). Stay-at-home orders further reduce access to social
                                                                                                                     their non-LGBTQ counterparts (Whittington et al., 2020). LGBTQ           and community support resources in schools, such as gender and
                                                                                                                     persons of color face even greater risk for social inequality            sexualities alliances; other affirming student organizations; and
                                                                                                                     (Baams, Wilson, & Russell, 2019; Conron & Wilson, 2019; Move-            supportive teachers, professors, coaches, counselors, and peers, all
                                                                                                                     ment Advancement Project & SAGE, 2017; Morton et al., 2018;              of which serve as buffers that protect LGBTQ youth against
                                                                                                                     Whittington et al., 2020). Ultimately, mental health burden among        mental health burden due to social isolation and psychological
                                                                                                                     LGBTQ persons (e.g., PTSD, anxiety, depression, suicidality) may         trauma (Kaniuka et al., 2019; Parra, Bell, Benibgui, Helm, &
                                                                                                                     be exacerbated by the psychological impact of COVID-19 pan-              Hastings, 2018; Poteat, Sinclair, DiGiovanni, Koenig, & Russell,
                                                                                                                     demic trauma and its intersection with dimensions of social in-          2013; Reger et al., 2020; Van Orden et al., 2010).
                                                                                                                     equality (Galea, Merchant, & Lurie, 2020; Green, Price-Feeney, &            LGBTQ elders also face significant psychological threats as
                                                                                                                     Dorison, 2020; Reger, Stanley, & Joiner, 2020; Whittington et al.,       a result of stay-at-home orders during COVID-19. Indeed,
                                                                                                                     2020).                                                                   LGBTQ elders are twice as likely to be single and living alone,
                                                                                                                                                                                              4 times less likely to have children, and more likely to be
                                                                                                                       U.S. Social and Physical Distancing Response to the                    estranged from their biological families compared with their
                                                                                                                                                                                              heterosexual, cisgender counterparts (de Vries et al., 2019;
                                                                                                                                      COVID-19 Pandemic
                                                                                                                                                                                              Whittington et al., 2020). This is highly concerning because
                                                                                                                       On March 26, 2020, the president issued the “30 days to slow           social isolation, loneliness, and existing health and mental
                                                                                                                     the spread” national social distancing and stay-at-home guidelines       health concerns may be exacerbated among already-vulnerable
                                                                                                                     (White House, 2020). Between March 15 and April 7, 2020, 42              LGBTQ elders as a result of COVID-19 pandemic trauma




                                                                                                                            EXHIBIT E                                                                                                                     2
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                                                                                                                                                                          LGBTQ COMMUNITIES AND COVID-19                                                             S241

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                                                                                                                     & Sewell, 2016; Zelle & Arms, 2015).                                          1929 compared to inflation and GDP. Retrieved from https://www
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                                                                                                                     populations as a result of the COVID-19 pandemic. It is critical for          clinic/covid-19-telehealth-state-summary
                                                                                                                     mental health therapists, social services providers, employers,             America’s Health Insurance Plans. (2020). Health insurance providers
                                                                                                                     community-based organizations, schools, and higher education                  respond to coronavirus (COVID-19). Retrieved from https://www.ahip
                                                                                                                     institutions serving LGBTQ persons to move toward online deliv-               .org/health-insurance-providers-respond-to-coronavirus-covid-19/
                                                                                                                     ery of services and modes of work and education to mitigate the             Baams, L., Wilson, B. D. M., & Russell, S. T. (2019). LGBTQ youth in
                                                                                                                     mental health ramifications of COVID-19 psychological trauma                  unstable housing and foster care. Pediatrics, 143, e20174211. http://dx
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                                                                                                                     and social isolation (Galea et al., 2020; Green et al., 2020). Strong         .doi.org/10.1542/peds.2017-4211
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                                                                                                                     efforts are needed from leadership stakeholders in these institu-           Centers for Disease Control and Prevention. (2020). Cases in the U.S.
                                                                                                                     tions to incorporate LGBTQ-affirming virtual extracurricular ac-              coronavirus disease 2019 (COVID-19). Retrieved from https://www
                                                                                                                                                                                                   .cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html
                                                                                                                     tivities that strengthen and maintain social support and community
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                                                                                                                     connectedness (Green et al., 2020). These institutions should fur-
                                                                                                                                                                                                   2020 plans—Only with a special enrollment period. Retrieved from
                                                                                                                     ther leverage social media to connect LGBTQ individuals to                    https://www.healthcare.gov/coverage-outside-open-enrollment/special-
                                                                                                                     trusted, accessible, and affirming mental health resources, such as           enrollment-period/
                                                                                                                     the Trevor Project (Galea et al., 2020; Green et al., 2020). Even           Centers for Medicare and Medicaid Services. (n.d.-b). Marketplace cover-
                                                                                                                     more critical is ensuring human connections among intersection-               age & coronavirus. Retrieved from https://www.healthcare.gov/corona
                                                                                                                     ally marginalized LGBTQ groups, such as low-income persons of                 virus/
                                                                                                                     color in unstable housing, who may lack equitable access to the             Conron, K., & Wilson, B. (2019). LGBTQ youth of color impacted by the
                                                                                                                     digital technologies required to receive online services (Galea et            child welfare and juvenile justice systems: A research agenda. Los
                                                                                                                     al., 2020; Golberstein et al., 2020). Given the potential confining           Angeles, CA: Williams Institute.
                                                                                                                     of LGBTQ young persons to abusive and traumatic environments,               Cubanski, J., & Freed, M. (2020). FAQs on Medicare coverage and costs
                                                                                                                     it is critical to provide attention to surveillance, reporting, and           related to COVID-19 testing and treatment. Retrieved from https://
                                                                                                                     intervention of child abuse and domestic violence during and after            www.kff.org/medicare/issue-brief/faqs-on-medicare-coverage-and-
                                                                                                                     the pandemic (Galea et al., 2020; Green et al., 2020).                        costs-related-to-covid-19-testing-and-treatment/
                                                                                                                        Fortunately, many insurance companies are allowing therapists            de Vries, B., Gutman, G., Humble, Á., Gahagan, J., Chamberland, L.,
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                                                                                                                     to bill for online therapy during the pandemic (AHIP, 2020).
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                                                                                                                     However, although many states have loosened credentialing re-
                                                                                                                                                                                                   of Aging & Human Development, 88, 358 –379. http://dx.doi.org/10
                                                                                                                     quirements for doctors, the same is not true for therapists. Some
                                                                                                                                                                                                   .1177/0091415019836738
                                                                                                                     states are granting extensions on licensure expiration dates and/or         Dunbar, M. S., Sontag-Padilla, L., Ramchand, R., Seelam, R., & Stein,
                                                                                                                     requesting that therapists with expired licenses return to the field,         B. D. (2017). Mental health service utilization among lesbian, gay,
                                                                                                                     but state laws still require therapists to hold a license in the state        bisexual, and questioning or queer college students. Journal of Adoles-
                                                                                                                     where their client is physically located during teletherapy (Amer-            cent Health, 61, 294 –301. http://dx.doi.org/10.1016/j.jadohealth.2017
                                                                                                                     ican Association for Marriage and Family Therapy, 2020; Amer-                 .03.008
                                                                                                                     ican Psychological Association, 2020; National Association of               Galea, S., Merchant, R. M., & Lurie, N. (2020). The mental health
                                                                                                                     Social Workers, 2020). Therefore, as LGBTQ persons shift phys-                consequences of COVID-19 and physical distancing: The need for
                                                                                                                     ical locations during the pandemic (e.g., moving back home after              prevention and early intervention. Journal of the American Medical
                                                                                                                     universities closed or moving homes to care for sick family mem-              Association Internal Medicine. Advance online publication. http://dx.doi
                                                                                                                     bers), their connections to their existing therapists may be severed.         .org/10.1001/jamainternmed.2020.1562
                                                                                                                     Policy stakeholders are urged to lift state-based licensure require-        Garfield, R., Orgera, K., & Damico, A. (2020). The coverage gap: Unin-
                                                                                                                     ments to increase access to affirming online therapy. Lastly, to              sured poor adults in states that do not expand Medicaid. Retrieved from
                                                                                                                     help mitigate the psychological ramifications of COVID-19 pan-                https://www.kff.org/medicaid/issue-brief/the-coverage-gap-uninsured-
                                                                                                                                                                                                   poor-adults-in-states-that-do-not-expand-medicaid/
                                                                                                                     demic trauma, policy stakeholders are urged to open ACA health
                                                                                                                                                                                                 Golberstein, E., Wen, H., & Miller, B. F. (2020). Coronavirus disease 2019
                                                                                                                     plan enrollment and close the Medicaid coverage gap so that all
                                                                                                                                                                                                   (COVID-19) and mental health for children and adolescents. Journal of
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                                                                                                                                                                                                   the American Medical Association Pediatrics. Advance online publica-
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                                                                                                                       adolescents in the United States. The Journal of School Health, 89,       Human Rights Campaign. (2018). 2018 LGBTQ youth report. Retrieved
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                                                                                                                        sions: Interactive map. Retrieved from https://www.kff.org/medicaid/issue-     coronavirus disease 2019 —A perfect storm? Journal of the American
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                                                                                                                        . . . Hirsch, J. K. (2019). Stigma and suicide risk among the LGBTQ          Rosario, M., & Schrimshaw, E. W. (2013). The sexual identity develop-
                                                                                                                        population: Are anxiety and depression to blame and can connectedness          ment and health of lesbian, gay, and bisexual adolescents: An ecological
                                                                                                                        to the LGBTQ community help? Journal of Gay & Lesbian Mental                   perspective. In C. J. Patterson & A. R. D’Augelli (Eds.), Handbook of
                                                                                                                        Health, 23, 205–220. http://dx.doi.org/10.1080/19359705.2018.1560385           psychology and sexual orientation (pp. 87–101). New York, NY: Oxford
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                                                                                                                        which are still shut down. The New York Times. Retrieved from https://       Rudowitz, R. (2020). COVID-19: Expected implications for Medicaid and
                                                                                                                        www.nytimes.com/interactive/2020/us/states-reopen-map-coronavirus              state budgets. Retrieved from https://www.kff.org/coronavirus-policy-
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                                                                                                                     Mervosh, S., Lu, D., & Swales, V. (2020, April 20). See which states and        Russell, S. T., & Fish, J. N. (2016). Mental health in lesbian, gay, bisexual,
                                                                                                                        cities have told residents to stay at home. The New York Times. Re-            and transgender (LGBT) youth. Annual Review of Clinical Psychology,
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                                                                                                                        14 –21. http://dx.doi.org/10.1016/j.jadohealth.2017.10.006                   Snell, K. (2020). What’s inside the Senate’s $2 trillion coronavirus aid
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